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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )         8:05CR162
                         Plaintiff,          )
                                             )
    vs.                                      )           ORDER
                                             )
MANUEL GARCIA,                               )
                                             )
                         Defendant.          )



    IT IS ORDERED:

    The motion for appointment of counsel under the Criminal Justice Act (Filing No. 236) filed by
Attorney Michael D. Nelson is granted. Michael D. Nelson is appointed to represent the above-
named defendant in this matter.

   IT IS FURTHER ORDERED that the Clerk shall provide a copy of this order to the Federal
Public Defender and Michael D. Nelson.

    DATED this 14th day of November, 2006.

                                             BY THE COURT:


                                             s/ Thomas D. Thalken
                                             United States Magistrate Judge
